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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                     §
                                              §
 v.                                           §    CASE NO.1:15CR92-1
                                              §
 MCGEE LAMAR FALCON                           §


         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

        By order of the District Court, this matter was referred to the undersigned United

 States Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and

 32 of the Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority

 to conduct a felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. §

 636(b)(3). United States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied,

 123 S. Ct. 1642 (2003). On October 17, 2016, this cause came before the undersigned United

 States Magistrate Judge for entry of a guilty plea by the defendant, McGee Lamar Falcon, on

 Count One of the charging Third Superseding Indictment filed in this cause.

        Count One of the Third Superseding Indictment charges that from, on or about

 sometime in 2009, the exact date being unknown to the Grand Jury, and continuing thereafter

 until on or about July 31, 2015, in the Eastern District of Texas and elsewhere, McGee Lamar


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 Falcon and co-defendants, knowingly and intentionally conspired and agreed with each other,

 and with persons known and unknown to the Grand Jury, to distribute and to possess with the

 intent to distribute fifty (50) grams or more of a Schedule II controlled substance, namely,

 “actual” methamphetamine, in violation of 21 U.S.C. § 846.

        Defendant, McGee Lamar Falcon, entered a plea of guilty to Count One of the Third

 Superseding Indictment into the record at the hearing.

        After conducting the proceeding in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 the Court finds:

        a. That Defendant, after consultation with counsel of record, has knowingly, freely

 and voluntarily consented to the administration of the guilty plea in this cause by a United

 States Magistrate Judge in the Eastern District of Texas subject to a final approval and

 imposition of sentence by the District Court.

        b. That Defendant and the Government have entered into a plea agreement and a plea

 agreement addendum which were addressed in open court and entered into the record.

        c. That Defendant is fully competent and capable of entering an informed plea, that

 Defendant is aware of the nature of the charges and the consequences of the plea, and that the

 plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

 personally in open court, the Court determines that Defendant’s plea is voluntary and did not

 result from force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

        d.   That Defendant’s knowing, voluntary and freely made plea is supported by an

 independent factual basis establishing each of the essential elements of the offense and

 Defendant realizes that his conduct falls within the definition of the crimes charged under 21

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 U.S.C. § 846.

                                  STATEMENT OF REASONS

          As factual support for Defendant’s guilty plea, the Government presented a factual

 basis.    See Factual Basis and Stipulation.       In support, the Government and Defendant

 stipulated that if this case were to proceed to trial the Government would prove beyond a

 reasonable doubt, through the sworn testimony of witnesses, including expert witnesses, as

 well as through admissible exhibits, each and every essential element of the crime charged in

 Count One of the Third Superseding Indictment. The Government would also prove that the

 defendant is one and the same person charged in the Third Superseding Indictment and that the

 events described in Third Superseding Indictment occurred in the Eastern District of Texas and

 elsewhere. The Court incorporates the proffer of evidence described in detail in the factual

 basis and stipulation in support of the guilty plea.

          Defendant, McGee Lamar Falcon, agreed with and stipulated to the evidence presented

 in the factual basis.   Counsel for Defendant and the Government attested to Defendant’s

 competency and capability to enter an informed plea of guilty. The Defendant agreed with the

 evidence presented by the Government and personally testified that he was entering his guilty

 plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

          IT IS THEREFORE the recommendation of the undersigned United States Magistrate

 Judge that the District Court accept the guilty plea of Defendant which the undersigned

 determines to be supported by an independent factual basis establishing each of the essential

 elements of the offense charged in Count One of the charging Third Superseding Indictment

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 on file in this criminal proceeding. The Court also recommends that the District Court accept

 the plea agreement and plea agreement addendum pursuant to the Local Rules for the United

 States District Court for the Eastern District of Texas and Federal Rule of Criminal Procedure

 11(c). Accordingly, it is further recommended that, Defendant, McGee Lamar Falcon, be

 finally adjudged as guilty of the charged offense under Title 21, United States Code, Section

 846.

        Defendant is ordered to report to the United States Probation Department for the

 preparation of a presentence report. At the plea hearing, the Court admonished the Defendant

 that the District Court may reject the plea and that the District Court can decline to sentence

 Defendant in accordance with the plea agreement and addendum, the federal sentencing

 guidelines and/or the presentence report because the sentencing guidelines are advisory in

 nature. The District Court may defer its decision to accept or reject the plea agreement and

 addendum until there has been an opportunity to consider the presentence report. See FED. R.

 CRIM. P. 11(c)(3). If the Court rejects the plea agreement, the Court will advise Defendant in

 open court that it is not bound by the plea agreement and Defendant may have the opportunity

 to withdraw the guilty plea, dependent upon the type of the plea agreement. See FED. R. CRIM.

 P. 11(c)(3)(B). If the plea agreement is rejected and Defendant still persists in the guilty plea,

 the disposition of the case may be less favorable to Defendant than that contemplated by the

 plea agreement or addendum. Defendant has the right to allocute before the District Court

 before imposition of sentence.




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                                            OBJECTIONS

            Objections must be:    (1) specific, (2) in writing, and (3) served and filed within

     fourteen (14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A

     party’s failure to object bars that party from: (1) entitlement to de novo review by a district

     judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

     276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of

     unobjected-to factual findings and legal conclusions accepted by the district court, see
.
     Douglass v. United Servs. Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The

     constitutional safeguards afforded by Congress and the courts require that, when a party takes

     advantage of his right to object to a magistrate’s findings or recommendation, a district judge

     must exercise its nondelegable authority by considering the actual evidence and not merely by

     reviewing and blindly adopting the magistrate’s report and recommendation. See Hernandez v.

     Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th

     Cir. 1981) (per curiam).


               SIGNED this the 25th day of October, 2016.




                                                ____________________________________
                                                KEITH F. GIBLIN
                                                UNITED STATES MAGISTRATE JUDGE




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